       Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 1 of 7
                                                                        u n^
                                                                        H ^.A.i>
                                                                                                          n

                                                                                                          n
                                                                         f ^±F1
                                                                         ? T..^
                                                                                                          iI
                                                                                              u..,y ?7r
UNITED STATES DISTRICT COURT                                                 y '^'" ^..i.




SOUTHERN DISTRICT OF NEW YORK                                               OATT? r.

BLACKHAWK DEVELOPMENT, LLC,                              Civil Action No.
                                                         7;19-cv-05590-NSR-PED
                            Plaintiff,

                       -against-


KRUSINSKI CONSTRUCTION COMPANY,                          NON-WAIVER ANJD
                                                         CONFIDENTIALITY
                            Defendant.                   AGREEMENT

KRUSINSKI CONSTRUCTION COMPANY,

                            Third-Party Plaintiff,

                       -against-


BOYCE EXCAVATING CO., INC., ADVANCE
TESTING COMPANY, INC., CBRE, INC,
McKESSON CORPORATION, SOLIC1TO & SON
CONTRACTING CORP., GREENWORLD
LANDSCAPE & IRRIGATION INC.,
RECLAMATION, LLC, THOMAS J. KEMPTON,
JR, INC. and LOIODICE HXCAVATION, INC,

                            Third-Party Defendants.


BOYCE EXCAVATING CO., INC.,

                            Fourth-Party Plaintiff,


                       "against-


LOIODICE HXCAVATION, INC. and
RECLAMATION, LLC

                            Fourth-Party Defendant,




       WHEREAS, the parties and certain non-parties arc expected to produce documents

deemed discoverablc under the Federal Rules of Civil Procedure that are responsive to each other
       Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 2 of 7




discovery requests and not privileged or otherwise exempted from discovery under applicable

law;

        WHEREAS, some of the documents produced in this matter may contain attomcy-client

privileged communications or other information protected as "privileged" under applicable law

("Privileged Material") and not subject to discovery under applicable law.

        WHEREAS, some of the produced documents in this matter may contain protected

attorney work-product material prepared or compiled in anticipation of litigation and not subject

to discovery under the applicable law (Work-Pro duct Material");

        WHEREAS, the parties acknowledge that, despite each party's best efforts to conduct

thorough pre-production review of all material produced some Work Product Material and

Privileged Material ("Protected Material") may be inadvertently disclosed to the other party

during the course of this litigation;

        WHEREAS, in the course of this litigation, it is expected that the parties will produce

information that is of a confidential, pi-ivate, personal, trade secret, or proprietary nature

("Sensitive Material");

        WHEREAS the undersigned parties desire to establish a mechanism to (a) avoid waiver

of privilege or any other applicable protective evidentiary doctrine as a result of the inadvertent

disclosure of the Protected Material; and (b) keep disclosed Protected Material and Sensitive

Material confidential to the maximum extent possible;

        IT IS HEREBY STIPULATED AND AGREED by the parties th^t this Agreement shall

govern the disclosure of Protected Material and Sensitive Material in this action.



        NON-WAIVER OF PRIVILEGE OR OTHER PROTECTIVE DOCTRINE BY
        INADVERTENT DISCLOSURE
        1. The inadvertent disclosure of any document which is subject to a legitimate claim

that the document should have been withheld from disclosure as Protected Material shall NOT

waive any privilege or other applicable protective doctrine for that document or for the subject




                                                  -2
     Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 3 of 7




matter of the inadvertently disclosed document if the producing party, upon becoming aware of

the disclosure, promptly requests its return and takes reasonable precautions to avoid such

inadvertent disclosure.

         2, Except in the event that the requesting party disputes the claim, any documents

which the producing party deems to contain inadvertently disclosed Protected Material shall be,

upon written request, promptly returned to the producing party or destroyed at the producing

party's option. This includes all copies, electronic or otherwise, of any such documents. In the

event that the producing party requests destruction, the requesting party shall provide written

certification of compliance within thirty (30) days of such written request. In the event that the

requesting party disputes the producing party's claim as to the protected nature of the

inadvertently disclosed material, a single set of copies may be sequestered and retained by and

under the control of requesting party for the sole purpose of seeking court determination of the

issue,


         3, Any such Protected Material inadvertently disclosed by the producing party to the

requesting party shall be and remain the property of the producing party.



         NON-WAIVER OF PRIVILEGE OR OTHER PROTECTIVE DOCTRINE BY
         VOLUNTARY DISCLOSURE
         4. The parties in some instances may agree to waive otherwise arguably applicable

privileges and protective doctrines. In such instances, the requesting party shall not argue that

such voluntary and selective waiver constitutes a waiver with respect to any other or addifionai

materials, including, but not limited to, materials in the same subject area as materials with

respect to which defendants voluntarily waived an applicable privilege or protective doctrine.




         CONFIDENTIAL TREATMENT OF SENSITIVE MATERIAL

         5, Any Protected Material or Sensitive Materisil disclosed in this litigation is to be

considered confidential and proprietary to the producing party and the requesting party shall hold
    Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 4 of 7




the same in confidence and shall not use any disclosed Protected Material or Sensitive Material

other than for the purposes of this litigation. The parties shall limit the disclosure of all Protected

Material and Sensitive Material only to those Permitted Persons, as defined below. "Permitted

Persons" are those persons with a need to know the information for purposes of supporting the

non-producing party's position in this litigation, and include:



               a. the employees of such non-producing parties, to whom it is necessary that
                     Protected Material and Sensitive Material be shown for purposes of this
                     proceeding;

               b. Outside counsel and insurers for the parties, and employees of such counsel
                     and insurers to whom it is necessary that Protected Material and Sensitive
                     Material be shown for purposes of this proceeding;



               c. Inside counsel for each party and the employees of such attorneys to
                     whom it is necessary that Protected Material and Sensitive Material be
                     shown for purposes of this proceeding;



               d. Third Persons employed by any party or attorneys solely for the purpose of
                     assisting in the preparation of this action for trial, including but not limited
                     to experts, their staff, and support personnel to whom it is necessary that
                     Protected Material and Sensitive Material be shown for purposes of assisting
                     in such preparation.

       The parties shall confer with each other before submitting any Protected Materials or

Sensitive Materials with the court, and before disclosing Protected Materials or Sensitive

Materials to third persons (not included in the "Permitted Persons" definition given above). If

good faith negotiations fail, the dispute shall be submitted to the court for resolution by the party

seeking to invoke the confidentiality and confidential nature of the Protected Materials or

Sensitive materials and the ongoing application of this stipulated order to such materials.

       6. If Protected Material or Sensitive Material is disclosed through inadverlence or

otherwise to any persons not authorized under this Agreement, the party causing such disclosure

shall inform the person receiving the Protected Material or Sensitive Material that the




                                                 -4-
    Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 5 of 7




information is covered by this Agreement, make its best efforts to retrieve the Protected Material

or Sensitive Material, and promptly inform the producing party of the disclosure,

        7. The requesting party shall have no confidentiality obligations with respect to any

inlormation which:
               a. is already known to the requesting party without restriction;


               b. is or becomes publicly known otherwise than by the requesting
                       party s breach of this Agreement;


               c. is received by the requesting party without restriction from a
                       third-party who is not under an obligation of confidentiality;

               d, is independently developed by the requesting party;

               e, is approved for release by written authorization of the producing
                       party, or

               f. is disclosed by the requesting party pursuant to judiciai action,
                       provided that producing party is notified at the time such action is
                       initiated.

        8. Any Protected Material or Sensitive Material disclosed by the producing party to

the requesting party pursuant to this Agreement shall be and remain the property of the

producing party. Upon the conclusion of this litigation (including any final appeals), any

Protected Material or Sensitive Material received from another party shall be destroyed or

returned to the producing party.

       GENERAL PROVISIONS

       9, This Agreement terminates and supersedes all prior understandings or agreements

on the subject matter hereof,

        10. This Agreement shall be binding on the parties hereto when signed.

        11. Nothing herein shall prevent any party from applying to the court for a

modification of this Agreement should the moving party believe the Agreement, as originally

agreed upon, is hampering its efforts to prepare for trial; or from applying to the court for further




                                                -5-
    Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 6 of 7




or additional protective Agreements; or from an Agreement between the parties to any

modification of this Agreement, subject to the approval of the court.

        12. This Agreement shall survive the final termination of this case regarding any

retained documents or contents thereof.


Dated: New York New York
       October 13,2020




Michael J. Vardaro, Esq,                             Kenneth Kim, Esq.
Zetlin & De Chiara LLP                               Lewis Brisbois Bisgaard & Smith, LLP
801 Second Avenue                                    77 Water Street, Suite 2100
New York, NY 10017                                   New York, NY 10005
(212)300-1429                                        (212)232-1300
Email: mvardaro^zdlaw.com                            File No: 50027.4984
Attorneys for Plaintiff KLACKHAWK                    Email: Kenneth, Kim@/lewisbnsbois.com
DEVELOPMEW\ LLC and                                  Attorneys for Third Party Defendant
Third -Party Defendant                               ADVANCE TESTING COMPANY, WC,
MCKESSON CORPORATION




Michael R. L'Homme, Esq.                             John Lichtenstein, Esq.
Litchfield Cavo LLP                                  Sheeley LLP
420 Lexin^ton Ave., Suite 2104                       100 Wall Street, 19t!) Floor
New York, NY 10170                                   New York, NY 10005
Email: IhoinmeCa^litchfieldcavo.com                  (646) 650-5952
(212)792-9777                                        Email: lichtensfein^heelevllp.com
Attorneys for Defendant/ Third-Party                 Attorneys for Third Party Defendant
Plaintiff Krusinski Construction Company             CBRE, Inc.



Deborah Del Sordo, Esq.                              Haydn J. Brill, Esq,
Ahmuty Demers & McManus                              Brill & Associates, PC
199 W^ter Street, 16th Floor                         Ill John Street, Suite 1070
New York, NY 10038                                   New York, NY 10038
(646)536-5740                                        (212)974-9101
File No: AMT11686N19DD                               Email: (hbrill(%brillassociates,com)
Email: dcborah.delsordo(aiadmlaw,com                 Attorneys for Third Party Defendant
Attorneys for Third Party Defendant                  SOUCfTO & SON CONTRACTING
BOYCE EXCAVATING CO., INC.                           CORP,



                                               -6-
     Case 7:19-cv-05590-NSR-PED Document 157 Filed 10/21/20 Page 7 of 7




The DiPippo Law Group LLC
401 Franklin Avenue, Suite 318
Garden City, NY 11530
(516)248-2326
Email: emercurioCG^hedipippoIawgroup.com
Attorneys for Tin rd Party Defendant
GREENWORLD LANDSCAPE &
IRRIGATION INC.




Donald J, Hillmann, Esq,
Couch White, LLP
P.O. Box 22222
540 Broadway
Albany, NY 12201-2222
Email: dh i 11 mann^couchwh ite.coin
Attorneys for Third-Party Defendant
RECLAMATION, LLC




Pant G. Ryan, Esq.
Welby, Brady & Grcenblatt, LLP
11 Martine Avenue, 15th Floor
White Plains, New York 10606
Office; 914-428-2100 | Fax: 914.428-2172
Email: pryan@wbgllp.com
Attorneys for Thinf Party Defendant
THOMAS J, KEMPTON




                                           _ 7 -
